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                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
U.S. District Court case number:               1:22-cv-00329-BLW
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: 08/02/2022

Date of judgment or order you are appealing:                     05/04/2023

Docket entry number of judgment or order you are appealing:                               135
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  The Speaker of the Idaho House of Representatives, Mike Moyle; Idaho State
  Senate President Pro Tempore, Chuck Winder; and the Sixty-Seventh Idaho
  Legislature

Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?                     23-35153
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature       /s/ Daniel W. Bower                                     Date Jul 3, 2023
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                            Rev. 06/09/2022
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
The Speaker of the Idaho House of Representatives, Mike Moyle; Idaho State
Senate President Pro Tempore, Chuck Winder; and the Sixty-Seventh Idaho
Legislature
Name(s) of counsel (if any):
Daniel W. Bower
Monte Neil Stewart


Address: 1305 12th Ave. Rd., Nampa, ID 83686
Telephone number(s): 208-345-3333
Email(s): dbower@morrisbowerhaws.com; monteneilstewart@gmail.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes          No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
United States of America


Name(s) of counsel (if any):
Anna L. Deffebach



Address: 1100 L Street, N.W., Washington, D.C. 20005
Telephone number(s): (202) 993-5182
Email(s): anna.l.deffebach@usdoj.gov


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                          New 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes      No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                          New 12/01/2018
